 

QAO 245B (Rev. 12/03) Judgment in a Criminal Case

 

 

 

 

NCED Sheet l
UNITED STATES DisTRiCT CoURT
EaStern District of North Caro|ina
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
MATTH EW WlLLlAMS Case Number: 5212-CR-81-1F
USM Number:56563-056
JAMES R. HAWES
Defendant’s Attomey
THE DEFENDANT:

d pleaded guilty to count(s) 1, 2 and 3 (lndic’tment)

 

l:l pleaded nolo contendere to count(s)

 

which was accepted by the court

lj was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Natu re of Offense Offense Ended Count
18 U.S.C. § 371 Conspiracy to Fa|s|ey Make and Counterfeit Ob|igations of 7/27/2010 1
the United States
18 U.S.C. § 471 and 18 U.S.C. § 2 Counterfeiting United States Currency and Aiding and 7/27/2010 2
Abetting
The defendant is sentenced as provided in pages 2 through 7 of this judgment The sentence is imposed pursuant to

the Sentencing Reforin Act of 1984.
m The defendant has been found not guilty on count(s)

 

l:l Count(s) El is l:l are dismissed on the motion of the United States.

or mailing address until_ all fines, restitution,_costs, and special assessments imposed l_)y this judgment are fu y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

lt is ordered that the defendant must notify the United States attorney for this district within 30 da%s of any change of name, residence,

Serit:ericing Location: 4/30/2013

 

WlLM|NGTON, NORTH CAROL|NA Daf€ Of ImPOSiinn OfJ\ldgm€n¢

/}¢… 9 `;L,

Sig re of J udge

 

JAMES C. FOX, SEN|OR US D|STR!CT JUDGE

 

Name and Title of Judge

4/30/2013

 

Date

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NCED Sheet |A

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DEFENDANT; MAiTHEW WiLLlAMs --?_
CASE NUMBER; 5212-CR-81-'| F

ADDITIONAL C()UNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 472 and Possession of Counterfeit United States Currency 7/27/2010 3
18 U.S.C. § 2 and Aiding and Abetting

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AO 245B (Rev. 12/03) Judgment in Criminal Case
NCED Sheet 2 ~ lrnprisonment

Judgment ` Page 3 of
DEFENDANT; MATTHEW WILL|AMS
CASE NUMBER: 5:12-CR-81-1F

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

COUNTS 1, 2 AND 3: 42 MONTHS ON EACH COUNT TO BE SERVED CONCURRENTLY.

d The court makes the following recommendations to the Bureau of Prisons:

That the court recommends that the defendant be incarcarated at FC| Butner.

d The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:
l] at l:l a.m. l:l p.m. on
I___] as notified by the United States Marshal.

 

 

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l[l before p.m. on

 

l:ll] as notified by the United States Marshal. E Or

ll as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

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AO 2458 (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 3 - Supervised Release

J d -P 4 f
DEFENDANT: MATTHEW WiLLlAMs “ gme'“ age ° __;

CASE NUMBER! 5:12-CR-81-1F
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

COUNTS 1, 2, 3: 3 YEARS ON EACH OF THE COUNTS, ALL SUCH TERMS TO RUN CONCURRENTLY.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
, custody of the Bureau of Pnsons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull possess a controlled substance The defendant shall refrain from any unlawful use ofa controlled
substance The defendant shall su mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with _the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

|:| [:|§`SL|:|

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this fjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.
STANDARD CONDITIONS OF SUPERVISION

l. Ttl_;_e defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
o icer.

2. The defendant shall report to_ the probation officer as directed by the court or probation officer and shall submit a truthful and
complete written report within the first five (5) days of each month.

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4. The defendant shall support the defendant’s dependents and meet other family responsibilities

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons.

6. The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8. The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
places specified by the court

9. The defendant shall not associate with any persons en aged in criminal activity, and shall not associate with any person convicted of
a felony unless granted permission to do so by the pro ation officer.

lO. The defendant shall permit a robat_ion officer to visi_t the defendant at any time at horne or elsewhere and shall permit confiscation of
any contraband observed in p ain view by the probation officer.

ll. Ttl_}§: defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
o icer.

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court.

13. As directed by the probation officer, the defendant shall noti third parties of risks that may be occasioned by the defendant’s

criminal record or personal history or characteristics, and sha l permit the probation officer to make such notifications and to confirm
the defendant’s compliance with such notification requirement

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AO 2458 (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 3C -- Supervised Release

J ud gmen t_Pa ge 5 of 2
DEFENDANT: MATTHEW WlLL|AMS
CASE NUMBER: 5:12-CR-81-1F

SPECIAL CONDITIONS OF SUPERVISI()N

The defendant shall provide the probation ofnce with access to any requested financial information

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
oftice.

The defendant shall participate as directed in a program approved by the probation ofhce for the treatment of narcotic
addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
and may require residence or participation in a residential treatment facility.

The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
officer, any other law enforcement ofticer, of the defendant’s person and premises, including any vehicle, to determine
compliance with the conditions of this judgment

While under supervision in the Eastern District of NC, the defendant shall participate in the DROPS Program and, in
response to detected illegal drug use, shall be connned in the custody of the Bureau of prisons for a period not to exceed
30 days of intermittent confinement as arranged by the probation office, in the following increments; First Use - Two Days;
Second Use - Five Days; Third Use - Ten Days

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

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AO 2458 (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 5 - Criminal Monetary Penalties

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DEFENDANT; MATTHEW wiLi_lAMs
CASE NUMBER: 5112-CR-81-1F

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 300.00 $ 2,300.00 $

l:l The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination

ij The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa%ee shall receive an approximately Lpro ortioned ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee _"l`p_ta_l_]=,g§§_* Restitution Ordered Priori or Percenta e

 

TOTALS $0.00 $0.00

I:I[] Restitution amount ordered pursuant to plea agreement $

 

I:IU The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
6 the interest requirement is waived for the d fine {:| restitution.

I:I the interest requirement for the [j fine [] restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, 1 107 l 10A, and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

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AO 2453 (Rev. 12/03).1udgment in a Cn`minal Case
NCED Sheet 6 - Schedule of Payments

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DEFENDANT: MATTH EW WlLLlAMS

CASE NUMBER: 5312~CR-81-1F

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [I Lump sum payment of $ due immediately, balance due

[:] not later than ,or
I:] in accordance |:] C, [:] D, I:] E, or [:| Fbelow; or

B I:] Payment to begin immediately (may be combined with |:] C, I:] D, or E] F below); or

C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

 

D [:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

 

 

E I:] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F M Special instructions regarding the payment of criminal monetary penalties:

The special assessment imposed shall be due in full immediate|y.

The fine imposed shall be due immediately and the interest is waived.

llnless the court has expressly ordered otherwis_e, if this judgment imposes imprisonment ayment of criminal monetary penalties is du_e during
imprisonment All crimina monetary penalties, except those payments made throug the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

I:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.

[:l

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the following order: (1? assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and couit costs.

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